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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


JOSEPH BRUMMETT et al.,

            Plaintiffs,

      vs.                             Civil  Action No. 1:14-CV-04033-AT
                                      -------------------------------------------------

GIRLS GALORE, INC., et al.,

            Defendants.


ALBERT BARNES,

            Plaintiff,

      vs.                             Civil Action No. 1:14-cv-03946-SCJ

GIRLS GALORE, INC., et al.,

            Defendants.


ROBERT CASEY ,

            Plaintiff,

      vs.                             Civil Action No. 1:16-cv-04590-SCJ

GIRLS GALORE, INC., et al.,

            Defendants.




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                                           ORDER

   Pending before the Court is the Joint Application for Approval of the Parties’

Settlement Agreement. The parties have requested that the Court review and approve

the parties’ proposed Settlement Agreement in this case because Plaintiffs’ Complaints

include claims under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., The Court

has reviewed the Settlement Agreement and finds that the settlement is a fair and

reasonable resolution of the parties’ dispute. Accordingly, the Parties’ Joint Application

is GRANTED, and the Settlement Agreement is APPROVED and incorporated herein.

   This Court shall retain jurisdiction over this matter to enforce the terms of the

Settlement Agreement.*

   IT IS SO ORDERED, this _____
                           30th day of August, 2017




                                          s/Steve C. Jones

                                          Judge, United States District Court

 *This Order approves settlement in civil actions 1:14-cv-3946-SCJ and 1:16-cv-4590-SCJ
  only. The motion for approval of settlement as to civil action 1:14-cv-4033-AT will be
  decided by the Honorable Amy Totenberg.




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